                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                             Plaintiffs,

                        v.                             No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, et al.,

                             Defendants.



RESPONSE TO DEFENDANTS DALE FOLWELL AND DEE JONES’ MOTION
          FOR STAY OF INJUNCTION PENDING APPEAL
                        (ECF NO. 256)

       Forty-seven days after this Court issued its permanent injunction requiring the

reinstatement of coverage for “medically necessary services of treatment for gender

dysphoria,” Defendants Dale Folwell and Dee Jones (in their official capacities) seek the

extraordinary relief of staying this Court’s injunction. Defendants have failed to carry their

heavy burden of establishing why a stay is required pending appeal, especially as Plaintiffs

(and other transgender beneficiaries of the Plan) will be substantially harmed if their

healthcare coverage is once again denied during Defendants’ appeal.

 I.    LEGAL STANDARD

       Federal Rule of Civil Procedure 62(d) allows a court to suspend or modify an

injunction “[w]hen an appeal is pending from an interlocutory order or final judgment that

grants . . . an injunction.” See also Fed. R. App. P. 8(a) (requiring that a party, before




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seeking a stay in the court of appeals, either move for a stay in the district court or show

that moving for such relief would be impracticable). The granting of a stay pending appeal

is “an extraordinary remedy,” Universal Furniture Int’l, Inc. v. Collezione Europa USA,

Inc., No. 1:04-CV-977, 2007 WL 4262725, at *4 (M.D.N.C. Nov. 30, 2007), and the

moving party carries a “heavy burden” to justify this type of equitable relief. Covington v.

North Carolina, No. 1:15-CV-399, 2018 WL 604732, at *3 (M.D.N.C. Jan. 26, 2018). 1

       When considering the merits of a motion to stay, a district court will consider four

factors: “(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434

(2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

       Defendants’ legal argument starts with its citation to these four factors as adopted

by the Fourth Circuit in Long v. Robinson, 432 F.2d 977 (4th Cir. 1970). ECF 257 at 7.


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  Defendants argue that the relevant appellate standard of review must be considered and
is one where the evidence is viewed in the light most favorable to Defendants and all
reasonable inferences are drawn in their favor. ECF 257 at 8-9. Defendants rely upon
Jacobs v. N.C. Admin. Off. of the Cts., 780 F.3d 562 (4th Cir. 2015) and Harris v. Pittman,
927 F.3d 266 (4th Cir. 2019), but neither deal with permanent injunctions. As a permanent
injunction is a form of equitable discretion, the Fourth Circuit would review under an abuse
of discretion standard, where the district court’s legal conclusions are reviewed de novo,
and any factual findings for clear error. Mayor of Baltimore v. Azar, 973 F.3d 258, 274
(4th Cir. 2020); Pashby v. Delia, 709 F.3d 307, 319 (4th Cir. 2013) (“We evaluate a district
court’s decision to grant preliminary injunctions under an abuse of discretion standard.”).
Regardless, when this Court granted summary judgment and issued the permanent
injunction, it applied the proper standard for summary judgment, including citations to
Jacobs and Harris. ECF 234 at 38.
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However, Defendants’ argument that in the Fourth Circuit “a movant for a stay pending

appeal need not affirmatively satisfy all four requirements,” ECF 257 at 7–8, does not

capture the current status of the law.

       In the first forty years after Long, district courts regularly applied the Long factors

using a balancing test or sliding scale to evaluate a motion to stay. Id. This changed

following the Fourth Circuit’s decision in The Real Truth About Obama, Inc. v. FEC, which

modified the analysis for granting a preliminary injunction. 575 F.3d 342, 346–47 (4th

Cir. 2009), vacated on other grounds, 559 U.S. 1089 (2010), reissued in relevant part, 607

F.3d 355 (4th Cir. 2010). The Fourth Circuit recognized that the U.S. Supreme Court in

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008) ended the balancing test for

preliminary injunctions, and now requires the movant to satisfy all four requirements. The

Real Truth, 575 F.3d at 346‒47. The Fourth Circuit held that the moving party must make

a “clear showing” on all four requirements before the court may order injunctive relief. Id.;

see also CWCapital Asset Mgmt., LLC v. Burcam Cap. II, LLC, No. 5:13-CV-278-F, 2013

WL 3288092, at *2 (E.D.N.C. June 28, 2013) (“Now, the moving party must independently

satisfy all four requirements for a preliminary injunction, and the district court should not

balance the four factors.”).

       This modification to the preliminary injunction standard also altered the standard

for a stay pending an appeal because these forms of equitable relief are intertwined. See

Does 1-5 v. Cooper, No. 1:13-CV-711, 2016 WL 10587195, at *1–2 (M.D.N.C. Mar. 2,

2016); Syngenta Crop Prot., Inc. v. EPA, 202 F. Supp. 2d 437, 448 (M.D.N.C. 2002) (“The


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test for granting a stay mirrors that in determining whether to issue a preliminary

injunction.”); see also Blackwelder Furniture Co. of Statesville, Inc. v. Seilig Mfg. Co.,

Inc., 550 F.2d 189, 193 (4th Cir. 1977) (The four part test established in Blackwelder to

grant preliminary injunctions evolved from the same “fourfold equitable rule of thumb” as

the one laid out in Long for granting a stay pending appeal).

       So, while some district courts still apply the Long factors “on a sliding-scale and

allow a stronger showing on some factors to make up for a weaker showing on others,” 2

many have analyzed the issue and adopted the “more rigid” standard set in The Real Truth

when considering motions to stay. Rose v. Logan, No. BR 12-25471, 2014 WL 3616380,

at *1–2 (D. Md. July 21, 2014); see In re Kaiser Gypsum Co., Inc., No. 3:20-CV-537-

GCM, 2021 WL 3476138, at *1 (W.D.N.C. Aug. 6, 2021) (“Failure to satisfy any of the

four elements warrants denial of the [stay] motion.”); Dale v. Butler, No. 7:20-CV-184-

BR, 2021 WL 1305391, at *2 (E.D.N.C. Apr. 2, 2021) (“The movant must make a clear

showing on each factor; the court does not engage in balancing test.”); In re Carolina Park



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  Defendants cite to Ohio Valley Env’t Coal., Inc. v. U.S. Army Corps of Engineers, 890 F.
Supp. 2d 688, 692 (S.D.W. Va. 2012) and Arkansas Best Corp. v. Carolina Freight Corp.,
60 F. Supp 2d 517, 519 (W.D.N.C. 1999) to support its position that they “need not
affirmatively satisfy all four requirements” under the Long test. ECF 257 at 7-8. However,
Arkansas Best predates The Real Truth by a decade and therefore does not shed any light
on the current standard for a motion to stay. While Ohio Valley does state that “an
independent showing on each prong[] does not apply directly to stays pending appeal,” the
district court seems to contradict itself by stating later in the opinion that movants “do
satisfy each of the three other prongs in this case. Because all four factors must be met,
however, [movants’] failure to meet the first prong is sufficient grounds for concluding that
a stay pending appeal should not be granted to [movants].” 890 F. Supp. 2d at 692–93
(emphasis added).
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Assocs., LLC, No. 2:10-CV-1805-DCN, 2010 WL 2756945, at *2 (D.S.C. July 12, 2010)

(“Failure to satisfy any of the four factors is sufficient grounds to deny the requested

stay.”); see also CWCapital Asset Mgmt., LLC, 2013 WL 3288092, at *2 n.5 (“For purposes

of deciding the instant motion, the court assumes the requirements for obtaining a

preliminary injunction and the law that has developed around injunctive relief apply in the

context of a motion for stay pending appeal. The parties have not provided, and the court

has not found, a case holding otherwise.”); Cooper, 2016 WL 10587195, at *2 (“Here, the

Court need not determine precisely which test is appropriate to apply because, as explained

below, Defendants’ Motion should be denied even under the most lenient of the tests—the

sliding-scale version of the Long test.”).

       As preliminary injunctions and stays pending appeal arise from the same “fourfold

equitable rule of thumb,” this Court should apply The Real Truth standard here and require

Defendants to satisfy all four factors. Blackwelder, 550 F.2d at 193. Regardless of whether

this Court applies The Real Truth standard or the “sliding-scale” approach, Defendants’

motion for a stay should be denied.




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    II.    DEFENDANTS HAVE FAILED TO DEMONSTRATE A STRONG SHOWING THAT
           THEY ARE LIKELY TO SUCCEED ON THE MERITS

              A. The Injunction Is Not Improperly Vague

           Defendants assert that this Court’s injunction is not compliant with Rule 65(d)

because it is “impermissibly vague.” ECF 257 at 9. The Rule requires an injunction order

to “(A) state the reasons why it issued; (B) state its terms specifically; and (C) describe in

reasonable detail—and not by referring to the complaint or other document—the act or acts

restrained or required.” Fed. R. Civ. P. 65(d)(1); see 11A Charles Alen Wright & Arthur

R. Miller, Federal Practice and Procedure Civ. § 2955 (3d ed. 1998) (“The drafting standard

established by Rule 65(d) is that an ordinary person reading the court’s order should be

able to ascertain from the document itself exactly what conduct is proscribed.”).

           Defendants first argue that this Court failed to “specifically” identify the coverage

exclusion at issue. ECF 257 at 11. Put another way, Defendants are claiming they have

no idea what is excluded under their own Exclusion. Not only is such a claim farcical on

its face, Defendants’ own actions show it is simply not true. Two weeks before filing their

motion to stay, Defendants issued a press release stating their (belated) intention to come

into compliance with the Court’s Order, which at that point had already been in effect for

a month. 3 In the press release, Defendants clearly understand that this Court’s Order

requires them to “not enforce the Plan’s benefit exclusion regarding treatment or studies



3
  Press Release, North Carolina Department of State Treasurer, Federal Judge Orders State
Health Plan Board of Trustees to Use Taxpayer Funds to Pay for Sex Transition Operations
(July 13, 2022), https://perma.cc/5RYM-3DYH.
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leading to or in connection with sex transition or modifications and related care.” Further,

on the same day, Defendant Folwell stated at the NCSHP Board’s regular open meeting

that, after he and the NCSHP Board had consulted with counsel, he had determined that as

long as the injunction is “in force, I must comply”; that “the Executive Administrator and

Plan staff are directed to not enforce the specified benefit exclusion, and to provide benefits

in compliance with the court’s order”; and that Plan documents would be amended

accordingly. 4 Neither in the press release nor during the NCSHP Board Meeting did

Defendant Folwell (or any board member) raise any concerns around how the injunction

should be understood.

       Defendants’ feigned ignorance also falls flat as a matter of law. See Reliance Ins.

Co. v. Mast Const. Co., 159 F.3d 1311, 1316 (10th Cir. 1998) (“Rule 65(d) requires only

that the enjoined conduct be described in reasonable, not excessive, detail. . . .”); Meyer v.

Brown & Root Constr. Co., 661 F.2d 369, 373 (5th Cir. 1981) (“The specificity requirement

is not unwieldy . . . . An injunction must simply be framed so that those enjoined will know

what conduct the court has prohibited.”); see also Axia NetMedia Corp. v. Massachusetts

Tech. Park Corp., 889 F.3d 1, 13 (1st Cir. 2018) (affirming injunction as parent company

did know, or could “readily discern, the precise level of services its affiliates had been

providing,” especially when responsibilities were identified in a thirty-two-page services

agreement).


4
 NC State Health Plan, State Health Plan Board of Trustees Meeting–July 13, 2022,
YouTube (July 13, 2022), https://www.youtube.com/watch?v=FTQS3xmN_t0, at 19:30-
25:02.
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        Defendants next argue that Defendants—who administer and operate the NCSHP—

have no concept of what “medically necessary services for the treatment of gender

dysphoria” could mean, and instead raise a series of questions in a classic strawman

argument to raise doubt over the reasonably detailed scope of the injunction. ECF 257 at

13. This strawman argument is quickly resolved by a simple review of this Court’s

injunction, which referenced the statute defining “medically necessary” services, which

are:

        (1) “[p]rovided for the diagnosis, treatment, cure, or relief of a health
        condition, illness, injury, or disease” and “not for experimental,
        investigational, or cosmetic purposes,” (2) “[n]ecessary for and appropriate
        to the diagnosis, treatment, cure, or relief of a health condition, illness, injury,
        disease, or its symptoms,” (3) [w]ithin generally accepted standard of
        medical care in the community,” and (4) “[n]ot solely for the convenience of
        the insured, the insured’s family, or the provider.”

ECF 234 at 5 (quoting N.C. Gen. Stat. § 58-3-200(b)). When it lifted the Exclusion in

2017, NCSHP was able to determine and provide “medically necessary services for the

treatment of gender dysphoria.” See, e.g., ECF 181-2 at 34 (Board removed the Exclusion

“resulting in the provision of medically necessary services for the treatment of gender

dysphoria”). Defendants plainly do not need more information from this Court to do so

again. See Williams v. United States, 402 F.2d 47, 48 (10th Cir. 1967) (“[I]t is difficult to

term appellant’s argument that the injunction is inoperative from lack of specificity as more

than self-denying.” (footnote omitted)); see also Common Cause v. Nuclear Regulatory

Comm’n, 674 F.2d 921, 927 (D.C. Cir. 1982) (considering text of order and context of

litigation to determine whether order is sufficiently specific).


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       Nor does Defendants’ reliance on Pashby v. Delia, 709 F.3d 307 (4th Cir. 2013)

support their cause. ECF 257 at 12–13. The Pashby plaintiffs challenged stricter eligibility

requirements for an in-home personal care services program found in a newly passed piece

of legislation referred to in the litigation as Policy 3E. Pashby, 709 F.3d at 313. The

district court granted a preliminary injunction prohibiting the implementation of Policy 3E.

Id.   However, Policy 3E included a range of provisions unrelated to the eligibility

requirements. Id. at 331. The Fourth Circuit found the injunction lacked “reasonable

detail” because while the district court only focused on the eligibility requirements of

Policy 3E, the actual injunction prohibited the complete implementation of Policy 3E,

which, as the Fourth Circuit questioned, might include provisions unrelated to the

eligibility requirements.    Id.   As a result, while the Fourth Circuit found plaintiffs

“established the need for a preliminary injunction,” it remanded the case back to the district

court to further clarify its injunction order. Id. at 332.

       The Exclusion, unlike Policy 3E, does not contain multiple provisions unrelated to

the specific requirement sought to be enjoined. Instead, the Exclusion is a categorical

prohibition of any and all coverage for gender dysphoria. Period. As a result, unlike in

Pashby, here, the enjoined conduct is identified in reasonable detail, i.e., end the categorical

prohibition of medically necessary services for the treatment of gender dysphoria, an act

Defendants were able to accomplish in 2017.

       Defendants contend that this Court reimposing the 2017 rule where NCSHP

removed the Exclusion and provided “medically necessary services for treatment of gender


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dysphoria” gives no guidance “short of a contempt hearing” on what is covered by the

injunction. ECF 257 at 14‒15. As its habit and practice, NCSHP follows the BlueCross

BlueShield of North Carolina Corporate Medical Policy for most coverage decisions,

including, in 2017, for gender dysphoria. See, e.g., ECF 181-2 at 34 (the removal of the

Exclusion “implies that the third-party administrator, Blue Cross and Blue Shield, will

utilize the existing approach to administrating this issue”). As detailed in the Court’s

injunction order, “NCSHP’s third-party administrators, Blue Cross and CVS, appear able

to distinguish between medically necessary and unnecessary treatments.” ECF 234 at 51.

Defendants’ feigned ignorance of how NCSHP operates in conjunction with its third-party

administrators is not credible.

       Finally, in another strawman argument, Defendants raise concerns about two other

facially neutral exclusions that “affect coverage and payments for the treatment of gender

dysphoria.” 5 ECF 257 at 15–16. But those exclusions have no relevance to this Court’s

injunction or even to this case. NCSHP never invoked them in the denials of care issued

to Plaintiffs. ECF 188 at 4–5. Moreover, these exclusions remained untouched in 2017,

but NCSHP was able to provide “medically necessary services for the treatment of gender

dysphoria” without any trouble. Id. Importantly, BCBSNC “has never implemented the

portion of the Plan’s benefit booklets that excludes ‘surgery for psychological or



5  Specifically, for “[c]osmetic services . . . and surgery for psychological or
emotional reasons,” and for experimental medications and medications not
approved by the U.S. Food and Drug Administration (“FDA”). ECF No. 137-3 at 3-
4.
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emotion[al] reasons.’” ECF No. 137-4 ¶ 27. Further, the lack of FDA approval did not

prevent NCSHP from covering care during plan year 2017, and Defendant Dee Jones, as

NCSHP’s Rule 30(b)(6) designee, admitted NCSHP has covered other non-approved

applications of medications. See ECF 180 at 181, 107:17–19 (the Plan covered COVID

care, which was not FDA-approved until many months after).              Moreover, as was

established in the parties’ expert depositions, it has been the FDA’s position for at least

three decades that physicians may prescribe drugs on an off-label basis. See, e.g., ECF

181-1 at 539–48, 223:14–232:6; see also Buckman Co. v. Plaintiffs’ Legal Comm., 531

U.S. 341, 351 (2001) (“[O]ff-label use is generally accepted.”).

       As Defendants well know, the injunction does not need to identify a complete list

of all relevant treatments and procedures for gender dysphoria. The injunction enjoined

the categorical prohibition of any and all coverage for gender dysphoria. NCSHP (and the

Defendants) are equipped to “evaluate[] whether the billed medical procedure corresponds

to a covered diagnosis.” ECF 197 at 20. NCSHP does it on a daily basis for its 740,000

members, and did so for its transgender members in 2017. See, e.g., Kadel v. N.C. State

Health Plan for Tchrs. & State Emps., 12 F.4th 422, 428 (4th Cir. 2021) (“The 2017 Plans

did not mandate coverage for all gender-confirming care. They simply allowed claims for

gender-confirming care to be reviewed under the same criteria and in the same manner as

claims for any other medical, mental health, or pharmacy benefits.”).




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          B. The Injunction Does Not Disregard Binding Supreme Court Precedent

       Defendants largely repeat their summary judgment argument that the Exclusion

cannot be understood as discriminating based on sex under Geduldig v. Aiello, 417 U.S.

484 (1974). Defendants are still wrong and therefore lack sufficient grounds for a stay. In

re Wellington, 631 B.R. 833, 839 (Bankr. M.D.N.C. 2021) (“[A] party does not meet its

burden on this factor by simply restating previous arguments from earlier filings.”); New

York Life Ins. Co. v. Singh, No. 14-cv-5726 (NG) (SMG), 2017 WL 10187669, at *2

(E.D.N.Y. July 13, 2017) (“To make out a ‘strong showing’ of likely success, a party

seeking a stay must do more than simply reiterate arguments with which the court has

already disagreed.”).

       First, there is a threshold problem with their argument. Defendants ignore that

Geduldig has no application to the Court’s independent ruling that the Exclusion

“discriminate[s] based on . . . transgender status.” ECF 234 at 42; see also id. at 43 (the

Exclusion “transparently discriminates against [NCSHP’s] transgender members” and

therefore must “receive intermediate scrutiny”).         Geduldig speaks only to sex

discrimination and has no effect on this Court’s transgender status holding. Defendants’

silence, which independently requires heightened scrutiny and summary judgment in

Plaintiffs’ favor, shows Defendants are unlikely to succeed on the merits and requires that

their motion be denied. For the reasons below, however, Defendants’ arguments about

Geduldig and Plaintiffs’ sex discrimination claims are equally inapt.




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       Defendants claim that Geduldig “does not permit” a finding that the Exclusion

facially discriminates, or application of heightened scrutiny. 6 ECF 257 at 17. Not so.

Geduldig held only that an exclusion of pregnancy from a disability benefits program with

no showing of “pretext” is not per se “invidious discrimination against the members of one

sex.” 417 U.S. at 496 n.20; see also Dobbs v. Jackson Women’s Health Org., 142 S. Ct.

2228, 2245–46 (2022) (quoting Geduldig, 417 U.S. at 496 n.20). Defendants misrepresent

Geduldig by claiming it “specifically” concluded that exclusions that can “only be stated

or effectuated [by] referencing sex” do not constitute sex discrimination. ECF 257 at 18.

That is incorrect.

       As Geduldig held, “[n]ormal pregnancy is an objectively identifiable physical

condition.” 417 U.S. at 496 n.20 (emphasis added). This means pregnancy “can be

explained without reference to sex, gender, or transgender status.” ECF 234 at 47.

Geduldig says nothing about an Exclusion like this one that explicitly categorizes based on

sex. ECF 234 at 7 (the Exclusion prohibits “treatment or studies leading to or in connection

with sex changes or modifications and related care” (emphasis added)). For that reason,

multiple courts have found that exclusions of gender-affirming care from coverage facially

discriminate based on sex. See, e.g., Toomey v. Arizona, No. 19-cv-00035, 2019 WL

7172144, at *6 (D. Ariz. Dec. 23, 2019); Fletcher v. Alaska, 443 F. Supp. 3d 1024, 1027‒


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  Defendants confuse two distinct concepts, claiming that the Court cannot apply
“heightened scrutiny” because the Exclusion is not “facially discriminatory” based on sex.
ECF 257 at 17‒18. But heightened scrutiny applies to all sex-based classifications,
regardless of whether they are facial or intentional. The Exclusion here is both for the
reasons explained in Plaintiffs’ summary judgment motion. ECF 201 at 12.
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30 (D. Alaska 2020) (holding that exclusion prohibiting treatment “related to changing sex

or sexual characteristic” is “facially discriminatory”); Flack v. Wis. Dep’t of Health Servs.,

328 F. Supp. 3d 931, 950 (W.D. Wisc. 2018); Boyden v. Conlin, 341 F. Supp. 3d 979, 997

(W.D. Wis. 2018) (holding that a similar exclusion “on its face treats transgender

individuals differently on the basis of sex”). 7

       Defendants rely on Lange v. Houston County, Georgia, No. 5:19-cv-392, 2022 WL

1812306 (M.D. Ga. June 2, 2022), to support their argument, ECF 257 at 18‒19, but this

outlier holding by an out-of-circuit district court—not bound by the Fourth Circuit’s

analysis of facial sex discrimination—fails to persuade. Indeed, after this Court’s summary

judgment ruling, another district court in this circuit similarly found Geduldig inapplicable

to an exclusion of gender-affirming care, finding instead that such an exclusion facially

discriminates based on sex. See Fain v. Crouch, No. 3:20-cv-0740, 2022 WL 3051015, at

*8 (S.D.W. Va. Aug. 2, 2022) (observing that Geduldig “reasoned that pregnancy was a

physical condition divorced from gender,” and in contrast, the exclusion of gender-

affirming care in West Virginia’s Medicaid program “precludes a specific treatment that is

connected to a person’s sex and gender identity” and not just an objectively identifiable

physical condition).




7
  The Supreme Court has “declined to distinguish between status and conduct in this
context.” Christian Legal Soc’y Chapter of the Univ. of Cal., Hastings Coll. of the Law v.
Martinez, 561 U.S. 661, 689 (2010); Lawrence v. Texas, 539 U.S. 558, 583 (2003)
(O’Connor, J., concurring).

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       Dobbs applies Geduldig to abortion—which the Supreme Court also treats as an

objectively identifiable physical condition that can be described without reference to sex—

and thus does not change the analysis. Notably, Dobbs reifies Bray v. Alexandria Women’s

Health Clinic, 506 U.S. 263 (1993), a decision that Defendants conveniently omit from

their analysis. As Bray recognized, “[s]ome activities may be such an irrational object of

disfavor that, if they are targeted, and if they also happen to be engaged in exclusively or

predominantly by a particular class of people, an intent to disfavor that class can readily be

presumed.” Id. at 270. In other words, a “tax on wearing yarmulkes is a tax on Jews.” Id.

So too, here. An Exclusion of healthcare that only transgender people need is an exclusion

of transgender people.

       Defendants strain to distinguish Bostock, claiming it does not inform Equal

Protection analysis or alter Geduldig’s applicability. ECF 257 at 22. But even if that were

true (it is not), this Court is bound by Grimm v. Gloucester County School Board, which

this Court correctly applied to find facial discrimination. 972 F.3d 586 (4th Cir.) as

amended (Aug. 28, 2020). Grimm held that a policy limiting students to use of the

restrooms corresponding to their “biological genders” discriminated on its face based on

sex. ECF 234 at 41 (analyzing Grimm, 972 F.3d at 608–10). This Court then noted that

the Exclusion prohibits care of “sex changes or modifications and related care.” ECF 234

at 41. Just as a policy referencing “biological genders” facially discriminates based on sex,

so too does an exclusion for care based on “sex.” Defendants identify nothing suggesting

they are likely to succeed in reversing this Court’s plain application of Grimm.


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          C. This Court Properly Found Plaintiffs Similarly Situated to the
             Cisgender Plan Participants Who Receive the Same Care Plaintiffs are
             Denied

       Defendants claim that this Court “eliminate[d] Plaintiffs’ obligation on summary

judgment to prove that they are ‘similarly situated,’” ECF 257 at 24, but their argument

amounts to mere disagreement with the Court, not a showing of error. In fact, the Court

squarely considered the issue and found Plaintiffs similarly situated because transgender

and cisgender participants “are all members of the Plan who seek similar or identical

treatments.” ECF 234 at 46. Defendants misunderstand the Court’s observation that any

neutral reasons that a transgender participant might subsequently be denied coverage for a

particular treatment are not relevant at this threshold stage, which simply examines whether

Defendants can justify a categorical barrier to coverage. Id.

       Defendants’ summary judgment briefing identified no material difference between

transgender plan participants and cisgender plan participants, and their stay motion offers

nothing new. Defendants insist that instead of comparing the transgender people denied

care with the cisgender people who are eligible, the Court must compare their diagnoses,

but this is a transparent attempt to rewrite the Exclusion. “Plan coverage decisions are

based on medical diagnoses, not patient identities,” Defendants reason. ECF 257 at 25.

But that is not how the Exclusion operates. Rather, as this Court recognized, the “factor

used by the Plan to distinguish between covered and uncovered treatments” is that the latter

“‘change or modify’ the patient’s assigned sex.” ECF 234 at 46. The Exclusion does not

reference diagnosis, only the fact that the care is needed for gender transition. ECF 234 at


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7 (the Exclusion prohibits “treatment or studies leading to or in connection with sex

changes or modifications and related care”).

       Even accepting Defendants’ argument at face value, however, discrimination on the

basis of gender dysphoria is discrimination against transgender people, and Defendants’

argument is nothing more than a “concise expression of an intention to discriminate.”

Plyler v. Doe, 457 U.S. 202, 227 (1982). As the unrebutted expert testimony showed and

numerous courts have recognized, “inherent in a gender dysphoria diagnosis is a person’s

identity as transgender. In other words, a person cannot suffer from gender dysphoria

without identifying as transgender.” Fain, 2022 WL 3051015, at *6; see also Brandt v.

Rutledge, 551 F. Supp. 3d 882, 889 (E.D. Ark. 2021) (gender-affirming care “is only sought

by transgender individuals”); Toomey, 2019 WL 7172144, at *6 (“[T]ransgender

individuals are the only people who would ever seek gender reassignment surgery.”); ECF

197–16 at 2, 28:14–16. This Court was thus correct to hold that pointing to gender

dysphoria does not identify a relevant difference between transgender and cisgender

participants, it simply makes clear that Defendants discriminate “based on sex and

transgender status.” ECF 234 at 44; see also Fain, 2022 WL 3051015, at *6 (an exclusion

“aimed specifically at a gender change procedure . . . targets transgender people because

they are transgender”); Boyden, 341 F. Supp. 3d at 1000.

       Defendants’ failure to identify a relevant difference between transgender and

cisgender plan participants concedes that there is none. Defendants fail to carry their heavy

burden for a stay.


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III.    DEFENDANTS WILL NOT BE IRREPARABLY INJURED ABSENT A STAY

        Defendants claim irreparable injury because it “jeopardizes Defendants’ ability to

make what should be essential policy decisions as stewards of the Plan’s state-allocated

resources.” ECF 257 at 28. Relatedly, Defendants also claim injury because the injunction

is “distorting the Plan’s policy determinations on how to allocate finite resources to their

most efficient use.” ECF 257 at 29.

        First, Defendants’ financial injury claim—as it was at summary judgment—is pure

poppycock. The Defendants don’t even believe it. Defendant Dee Jones, who served as

NCSHP’s Rule 30(b)(6) representative, admitted that “the cost of this benefit is not going

to break the Plan, never was, never will.” ECF 180 at 182, 104:17–19. Defendant Dale

Folwell, who was disclosed as a Rule 26(a)(2)(C) expert to testify about the plan’s

“unfunded liability,” and the general concerns of the Plan’s financial feasibility, admitted

that he was “not sure there’s a direct correlation between the unfunded liability and the

exclusion.” ECF 180 at 138, 192:9–10. Moreover, the Plan has undertaken initiatives to

address its unfunded liability that—in contrast to the minimal cost of gender-affirming

care—save in some cases hundreds of millions of dollars. ECF 180 at 174–76, 80:13–

82:10. As found by this Court, the estimated savings from maintaining the Exclusion is

approximately one dollar for each of the Plan’s 740,000 members. ECF 234 at 48. As this

Court correctly noted, “[s]uch a paltry limit on health care costs is not an important

governmental interest.” Id. It certainly is not enough to hold up the enforcement of the

injunction either.


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       Second, even if legitimate , injuries—even if substantial—“in terms of money, time,

and energy necessarily expended in the absence of a stay, are not enough” to establish

irreparable injury when seeking a stay. Virginia Petrol. Jobbers Ass’n v. Fed. Power

Comm’n, 259 F.2d 921, 925 (D.C. Cir. 1958); Long, 432 F.2d at 980 (same). Moreover,

while NCSHP “has an interest in its preferred policy, that interest cannot outweigh the

harm to the many non-gender conforming members of the public for whom discrimination

imposes a very concrete cost.” Walker v. Azar, No. 20-cv-2834, 2020 WL 4749859, at *8

(E.D.N.Y. Aug. 17, 2020) (citation omitted).

IV.    PLAINTIFFS WILL BE SUBSTANTIALLY HARMED BY A STAY.

       In a true “through the looking glass” moment, Defendants assert “Plaintiffs will be

unharmed by a stay of the injunction pending appeal.” ECF 257 at 30. It is truly outrageous

that the North Carolina State Treasurer, who is statutorily designated to administer and

operate the NCSHP, N.C. Gen. Stat. § 135-48.30, and the Executive Administrator of the

NCSHP openly claim that denying claims for “medically necessary” healthcare to

transgender individuals does not harm those individuals. ECF 234 at 8 (“Gender dysphoria

is characterized by clinically significant distress and anxiety resulting from the

incongruence between an individual’s gender identity and birth-assigned sex.”); Eknes-

Tucker v. Marshall, No. 2:22-cv-184-LCB, 2022 WL 1521889, at *12 (M.D. Ala. May 13,

2022) (“The record shows that, without transitioning medications, Minor Plaintiffs will

suffer severe medical harm, including anxiety, depression, eating disorders, substance

abuse, self-harm, and suicidality.”); see also Mem’l Hosp. v. Maricopa Cty., 415 U.S. 250,


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265 (1974) (delayed medical care can cause a patient needless deterioration, requiring more

expensive future care and possibly causing disability, which can strain state social

services).

       In disclaiming any harm, Defendants attempt to shift the focus to Plaintiffs’ claim

for monetary damages due to the NCSHP’s past discriminatory behavior. But Defendants

miss the point of injunctive relief. First, no amount of monetary damages can restore

Plaintiffs to their rightful position of being able to access medical care at the time they need

it, or undo the deprivation of equal treatment under law. See Walker, 2020 WL 4749859;

see also Whitaker By Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d

1034, 1046 (7th Cir. 2017) (finding no adequate remedy “for preventable ‘life-long

diminished well-being and life-functioning’”).

       Second, Defendants—wrongfully—claim that “Plaintiffs do not identify any

planned future surgeries,” implying that these individuals do not need future medical care

to treat their gender dysphoria. ECF 257 at 30. The absurd nature of this claim is easily

refuted by the record. ECF 234 at 66 (“Plaintiffs have shown that they will require

continued medical care to treat their gender dysphoria and that, barring judicial or

legislative intervention, NCSHP intends to maintain the exclusion.”).

       Finally, the violation of constitutional rights “for even minimal periods of time

unquestionably constitutes irreparable harm.” Leaders of a Beautiful Struggle v. Balt.

Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (en banc) (cleaned up). A stay will further

extend the constitutional harm suffered by Plaintiffs due to the Exclusion.


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 V.    THE PUBLIC INTEREST WILL NOT BE SERVED BY A STAY.

       Defendants claim a stay will benefit the public through “the allocation of North

Carolina taxpayer dollars by the proper authorities unless and until the validity of the

injunction is confirmed on appeal.” ECF 257 at 31. A stay impacts the public interest

when it has “consequences beyond the immediate parties.” In re Wellington, 631 B.R. at

846 (quoting In re Revel AC, Inc., 802 F.3d 558, 569 (3d Cir. 2015)). Here, the injunction

benefits the public by allowing all transgender individuals covered under NCSHP to

receive “medically necessary services for the treatment of gender dysphoria” during the

pendency of the appeal—a benefit that outweighs Defendants’ concern over the allocation

of taxpayer dollars. Pashby, 709 F.3d at 331 (“Although we understand that the North

Carolina legislature must make difficult decisions in an imperfect fiscal climate, the public

interest in this case lies with safeguarding public health rather than with assuaging North

Carolina’s budgetary woes.”); see also Leaders of a Beautiful Struggle, 2 F.4th at 346 (“[I]t

is well-established that the public interest favors protecting constitutional rights.”).

VI.    CONCLUSION

       Defendants seek the “extraordinary relief” of staying this Court’s injunction, but

have failed to carry their “heavy burden” of making a “clear showing” on all four factors

required to secure a motion for stay. As a result, this Court should deny Defendants’

motion.




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                         CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief is in compliance with Local Rule 40.1(c)

because the body of this brief, including headings and footnotes, does not exceed 6,250

words as indicated by Microsoft Word, the program used to prepare this document.


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                            CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all

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